
174 P.3d 550 (2005)
2005 OK 57
In the Matter of SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION for NON-COMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2004.
No. SCBD-5076.
Supreme Court of Oklahoma.
June 27, 2005.

ORDER OF SUSPENSION
JOSEPH M. WATT, Chief Justice.
¶ 01 This matter comes on before this Court for consideration of the Recommendation for Suspension submitted by the Board of Governors of the Oklahoma Bar Association, for suspension of members from membership in the Association and from the practice of law in the State of Oklahoma, as provided by the Rules of the Supreme Court for Mandatory Continuing Legal Education for failure to comply with such rules for the year 2004.
¶ 02 And the Court, having considered said Recommendation, finds that each of the members of the Oklahoma Bar Association named on the attached Exhibit, should be and is hereby suspended from membership in the Association and from the practice of law in the State of Oklahoma, as provided by the Rules of the Supreme Court for Mandatory Continuing Legal Education for failure to comply with such rules for the year 2004.
WINCHESTER, V.C.J., LAVENDER, HARGRAVE, KAUGER, EDMONDSON, TAYLOR and COLBERT, JJ. concur.
OPALA, J. not participating.

                    EXHIBIT A
    William Kwame Appiah-Siriboe          OBA No. 18008
    A &amp; A Tax and Business Advis
    415 Breesport St Ste 109
    San Antonio, TX 78216
    Anna M. Aragon                        OBA No. 12197
    1618 7th St
    Las Vegas, NM XXXXX-XXXX
    Carl Eric Asmussen                    OBA No. 13570
    1112 N 5th St
    Neodesha, KS 66757
    Frederick Bawden Aurin                OBA No. 379
    28700 Valley View Rd
    Steamboat Springs, CO 80487
    John Joseph Baker                     OBA No. 15181
    10655 Ne 4th, # 320
    Bellevue, WA 98004
    Mary Kathryn Behlen                   OBA No. 11321
    PO Box 6538
    Edmond, OK XXXXX-XXXX
    Robert Allen Benningfield             OBA No. 716
    4521 E 5th St
    Tulsa, OK 74112
    Glen Joseph Blake                     OBA No. 18655
    P.O. Box 50001
    Tulsa, OK XXXXX-XXXX
    Melvin C. Bloomfield                  OBA No. 892
    6144 S New Haven Ave
    Tulsa, OK 74136
    Richard Wayne Bohan                   OBA No. 11229
    8915 Red Cloud Road
    Houston, TX 77064
    Alford A. Bratcher                    OBA No. 13661
    RR 4 Box 224 G
    Duncan, OK XXXXX-XXXX
    Geoffrey Layton Burks                 OBA No. 18664
    1015 Providence Towers E
    5001 Spring Valley Rd
    Dallas, TX 75244
    David M. Casey                        OBA No. 1544
    1903 W University Ave
    Stillwater, OK 74074
    Keith Tulloss Childers                OBA No. 1657
    5017 Steanson # E
    Oklahoma City, OK 73112
    Robert Brent Clarke                   OBA No. 19433
    701 Morningside Dr
    Norman, OK 73071
    Mark Edgar Collum                     OBA No. 1821
    3100 NW 20th St
    Oklahoma City, OK XXXXX-XXXX
    Craig Dodd                            OBA No. 2388
    PO Box 452342
    Grove, OK XXXXX-XXXX
    Rodney Helder Dusinberre              OBA No. 17611
    808 Villa Cir
    Boynton Beach, FL 33435
    Shane Mark Egan                       OBA No. 15545
*551
    Weil Gotshal &amp; Manges Llp
    767 Fifth Ave
    New York, N.Y. 10153
    Nancy Findeiss                        OBA No. 2910
    Court Of Appeals
    1915 N Stiles Ste 357
    Oklahoma City, OK 73105
    David Jonathan Fishman                OBA No. 15007
    PO Box 290060
    Brooklyn, N.Y. XXXXX-XXXX
    Christy Lynn Forth                    OBA No. 19807
    1701 S Kelly Ave
    Edmond, OK XXXXX-XXXX
    Daniel Ray Gripe                      OBA No. 3630
    111 N. Main
    Yale, OK 74085
    Richard Alan Gurley                   OBA No. 10828
    1016 Grover Lane
    Norman, OK 73069
    Kimberly Ann Hart                     OBA No. 19474
    611 K Ste NE
    Washington, DC XXXXX-XXXX
    Michael Charles Heathco               OBA No. 14580
    PO Box 406
    Lawton, OK XXXXX-XXXX
    Eugenia Maria Hernandez               OBA No. 18909
    PO Box 2624
    Iowa City, IA 52244
    Fausto Hernandez                      OBA No. 14422
    3772 E. Timberline Rd.
    Gilbert, AZ 85297
    Robert Herzog                         OBA No. 4150
    36 Springhouse Rd
    Woodcliff Lake, NJ 07677
    Michael E. Karney                     OBA No. 12358
    140 Chambord Dr
    Maumelle, AR 72113
    Barbara Anne Ketring-Beuch            OBA No. 17211
    Ste I
    201 W Broadway
    North Little Rock, AR 72114
    Kimberly D. King-Hopkins              OBA No. 19025
    MD 41-3
    One Williams Center
    Tulsa, OK 74172
    Jon Howard Krause                     OBA No. 5113
    1 Colony Trail Dr
    Mandeville, LA 70448
    Paul Arthur Kruger                    OBA No. 5129
    2500 S McGee
    Norman, OK 73072
    Sheri Michelle Levson                 OBA No. 17887
    3 Tufts Ln
    Highland Mills, N.Y. 10930
    Lisa Greeman Lowry                    OBA No. 14771
    1147 S Newport Ave
    Tulsa, OK 74120
    Mark Douglas Mainprize                OBA No. 16268
    23804 E. Tecumseh Ave.
    Catoosa, OK 74015
    Ellen Traub Martin                    OBA No. 13536
    5303 Marsh Creek Dr.
    Austin, TX 78759
    Shirley Ann Marzan                    OBA No. 17092
    15889 SW 66th Terr
    Miami, FL 33193
    Jeanne Diane Melberg                  OBA No. 19885
    1451 24th St Apt 290
    Denver, CO XXXXX-XXXX
    John David Merritt                    OBA No. 18777
    1917 Riverside Drive
    Apt. C
    Tulsa, OK 74119
    Tami D. Mickelson                     OBA No. 13400
    2608 Callahan
    Muskogee, OK 74403
    Howard Steven Miller                  OBA No. 6210
    6205 E 100th St
    PO Box 55424
    Tulsa, OK XXXXX-XXXX
    Joseph Anthony Murphy                 OBA No. 10105
    516 Camden Ave
    Stuart, FL 34994
    Peter Gregory Pariseau                OBA No. 14863
    PO Box 35827
    Tulsa, OK XXXXX-XXXX
    Robert C. Payden                      OBA No. 6980
    717 S Houston Ste 509
    Tulsa, OK 74127
    Dale Troy Rich                        OBA No. 11161
    7337 W 36
    Tulsa, OK 74107
    William David Ridout                  OBA No. 7572
    6716 S St Louis Ave
    Tulsa, OK 74136
    Scott Gerald Robelen                  OBA No. 14016
    3987 S. Gessner # 360
    Houston, TX 77063
    Stacy Kalin Robinson                  OBA No. 17174
    4083 N Shiloh Dr Ste 9
    Fayetteville, AR 72703
    Gary Howard Roden                     OBA No. 12457
*552
    307 Colony Dr
    Norman, OK 73072
    James Michael Rogers                  OBA No. 15049
    1333 E 37th Pl
    Tulsa, OK 74105
    Travis Alan Scaggs                    OBA No. 19212
    3217 E 28th St
    Tulsa, OK 74114
    James Carl Schlecht                   OBA No. 15619
    3034 Lacey
    Chickasha, OK XXXXX-XXXX
    Fred M Schraeder                      OBA No. 7981
    1711 E 15th St
    Tulsa, OK 74104
    Pamela D. Scott                       OBA No. 16478
    3820 Lake Otis Pkwy # 214
    Anchorage, AK XXXXX-XXXX
    William Andrew Skeith                 OBA No. 15842
    PO Box 429
    Edmond, OK XXXXX-XXXX
    Jerry Lee Smith                       OBA No. 8366
    PO Box 14211
    Tulsa, OK XXXXX-XXXX
    Randy David St. Onge                  OBA No. 18231
    7871 S Hill Dr
    Littleton, CO XXXXX-XXXX
    Robert Wayne Stansel                  OBA No. 18607
    Tawwater &amp; Slama LLP
    211 N Robinson Ste 1950
    Oklahoma City, OK 73102
    Michael E Stubblefield                OBA No. 12507
    2742 W Babcock Avenue
    Visalia, CA 93291-3902
    Leigh Herbert Taylor                  OBA No. 8873
    675 S Westmoreland Ave
    Los Angeles, CA 90005
    Donald Dewayne Thompson               OBA No. 8957
    Creek County
    222 E Dewey
    Sapulpa, OK 74066
    Steven W. Vincent                     OBA No. 9237
    Ste 401
    403 S Cheyenne Ave
    Tulsa, OK 74103
    Johann Michael Viscosi                OBA No. 9240
    # 5 NW 16th St., Ste. C-11
    Lawton, OK XXXXX-XXXX
    Amber Lee Wade                        OBA No. 19248
    819 Woodmere Creek Loop
    Vestavia Hills, AL 35226
    Joseph David Weinstock                OBA No. 19252
    1341 Yale St # 5
    Santa Monica, CA 90404
    Laurie Ann Welborn                    OBA No. 13538
    9806 Pleasant Rd
    Daphne, AL 36526
    Hack Welch                            OBA No. 9451
    PO Box L
    Hugo, OK 74743
    Richard Lee Weldon                    OBA No. 9463
    PO Box 60741
    Oklahoma City, OK XXXXX-XXXX
    Barbara Anne West                     OBA No. 18489
    1516 Avondale Drive
    Norman, OK 73069
    Justin A. Whitefield                  OBA No. 16937
    4800 N Lincoln Blvd
    Oklahoma City, OK 73105
    John Matthew Whitworth                OBA No. 18157
    100 S Wheeler
    Sallisaw, OK XXXXX-XXXX
    Joe Allen Winfield                    OBA No. 9767
    2743 VZ CR 4201
    Canton, TX 75103
    Glennis Lanell Woodard                OBA No. 19976
    2000 E Tamarack # 207
    Altus, OK 73521
    James S Wooley                        OBA No. 9881
    420 Greenridge Ct
    Debary, FL 32713
    Scarlet Ann Wooton                    OBA No. 19604
    2114 Osprey Point Cir
    Pooler, GA 31322
    Margaret M Zarbano                    OBA No. 10166
    1941 S 42nd St Ste 500
    Omaha, NE 68105

